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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                FORT LAUDERDALE DIVISION

                                   CASE NO. 0:23-cv-62198-RS

 BEDABOX LLC D/B/A SHIPMONK, a
 Florida Limited Liability Company

          Plaintiff,

 v.

 TROIS INVESTMENT INC., a North Carolina
 company,

       Defendant.
 __________________________________/

                                PLAINTIFF’S RULE 7.1
                          CORPORATE DISCLOSURE STATEMENT

          Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, BEDABOX LLC D/B/A

 SHIPMONK, a Florida Limited Liability Company (“ShipMonk” or “Plaintiff”), by and through

 its undersigned counsel, hereby files its Corporate Disclosure Statement disclosing the following

 information:

          1.      ShipMonk does not have a parent corporation; and

          2.      ShipMonk is not a publicly traded company.

 DATED: November 27, 2023                            Respectfully submitted,

                                                     /s/ Nicole Villamar
                                                     Nicole Villamar, Esq.
                                                     Florida Bar Number: 1010639
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                                                     -and-
                                                     Scott M. Kessler (pro hac vice to be
                                                     submitted)
                                                     New York Bar No. 4242905
                                                     AKERMAN LLP
                                                     1251 Avenue of the Americas
                                                     37th Floor
                                                     New York, NY 10020
                                                     Email: scott.kessler@akerman.com


                                 CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 27, 2023, I electronically filed the foregoing with

 the Clerk of the Court using the CM/ECF system which will serve an electronic copy to all counsel

 of record.

                                                     /s/ Nicole Villamar
                                                     Nicole Villamar, Esq.




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